                    Case 3:10-cr-00014-DHB-BKE Document 381 Filed 06/24/15 Page 1 of 1



                                                     UNITE,OSTATESDISTRICTCOUNT
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                                                                        for the
                                                                                                                   20f
                                                                                                                     f JlrttZ& Atrl0:0t
                                                           SouthernDistrict of Georgia
                                                               Dublin Division
                       United Statesof America
                                  v.
                                                                               CaseNo: 3:10CR00014-6
                    StaceyHines,aka "Big Hines"                                USMNo: 16805-021

DateofOriginalJudgnent:             20,2011
                             September                                         Ashley W, Mclaughlin
DateofPreviousAmendedJudgment:
                            -                                                  Defendant'sAttorney
(lise Date of Last !1&eale'CJudg&ent, iJ anyl


                                        Order Regardingl\totion for SentenceReductionPursnantto l8 U.S.C.$ 3582(cX2)


           UDonmotionof I               tt.t"defendant
                                                     Ithe        Directorof theBureauof Prisonsln]the coununderl8 U S.C.

g 3582(c)(2) for a reductionin the term of imprisonmentimposedbasedon a guideline sentencingrange that has
subsequently  beenloweredand maderetroactiveby the United StatesSentencing          Commissionpursuantto 28 U.S.C.
S 994(u),and  having  considered  such motion, and taking into account the  policy statementsetforth at USSG S I B I .10 and
the sentencingfactors set forth in 18 U.S.C. S 3553(a),to the extent that they are applicable,


I T l S O R D E R I D t h a tt h em o l i o ni s :
 I X LOENIEO.i GRANTED and the defendant'spreviously imposedsentenceof imprisonmentbs rellected
                                                                                             inthetasrtudstnenl
issledl of             months is reduced to


                                                (CompletePorts I and II of Page 2 when motion is grdnted)




Exceptas otherwiseprovidedabove,a1Jprovisionsofthejudgment dated                                              sballremain   effect.

IT IS SO ORDERED,

orderDare:
        lo'34'l\                                                                                     Judge s signature



                                                                               DudleyH. Bou'en,Jr.
EffectiveDate: November1,2015                                                  UnitedStatesDistrictJudge
                        p1 diJjerenrlron order dare)                                               Printed name and title
